Case 1:24-mj-03234-LMR Document 1 Entered on FLSD Docket 06/26/2024 Page 1 of 5



                                U NITED STATES DISTRICT CO UR T
                                SO UTH ER N DISTRICT O F FLO R ID A

                              cAsE No. l:24-mj-03234-Reid
    UNITED STA TES O F AM ERICA

    VS.


    DIO RIBANA RD ,

             Defendant.
                                                    /

                                      CRIM INA L CO VER SH EET

          Did this m atteroriginate from a m atterpending in the Northern Region ofthe United States
          Attorney'sOfficepriorto August8,2014 (M ag.JudgeShaniek M aynard)? No
          Did this m atter originate from a m atter pending in the Central Region of the United States
          Attorney'sOfficepriortoOctober3,2019(Mag.JudgeJaredStrauss)?                No
    3.Did this m atter involve the participation of or consultation w ith M agistrate Judge Eduardo 1.
       Sanchez during histenure atthe United StatesAttorney'sOffice,w hich concluded on January
       22,2023? N o
    4.D id thism atterinvolve the participation oforconsultation now M agistrateJudge M al'ty Fulgueira
      Elfenbein during hertenure atthe U.S.Attorney's Office,which concluded on M arch 5,2024? N o
                                                  Respectfully subm itted,

                                                  M A RK EN ZY LA PO IN TE
                                                  UN ITED STA TES ATTORN EY


                                                        V'
                                                         --.D- , '             -
                                                                               '
                                                   BRIAN DO BBIN S
                                                   A ssistantUnited States Attorney
                                                   FederalBarNo.A 5501l82
                                                   99 N ortheast4tbStreet
                                                   M iam i,FL.33132-21l1
                                                   Tel:(305)96l-92304
                                                   Brian.Dobbins@usdoj.gov
Case 1:24-mj-03234-LMR Document 1 Entered on FLSD Docket 06/26/2024 Page 2 of 5




                   '1.)1)ilk-ilStâtlt'stlf..'.
                                             ï1'.4.
                                                  96)1l'
                                                       t.t'a
                                        *4'



                          DtOR kBARNAR(.
                                       '
                                       ).
                                                                                  l-
                                                                                   .24-11'
                                                                                         4-03234-2:1d



          C Rl51tN,,
                   $,L t-IISIPl.AIN7-85.'1'1:
                                            -1-1-1:11()Ntk
                                            *            -(Il'
                                                             t()1'111*14 ltj'
                                                                            -
                                                                            .
                                                                            l..l,'
                                                                                 k11.1.
                                                                                      ,f'
                                                                                        ./.1-F,f.-'l'R(.
                                                                                                       'N 14 A'
                                                                                                              ll'..NN)
                                                                                                                     h'




       Stluthttr'
                n
             f-''.
                 ,t.
                   fd--%'(.bt-i'i(,bn
   21U.S.C-g
           .84'
              tta)(1)
               .



    18U S. C,j924('c;)t1)tA)
    18QI.S.C.'
             â922(:)




           6/25/2024
Case 1:24-mj-03234-LMR Document 1 Entered on FLSD Docket 06/26/2024 Page 3 of 5




                    AFFIDA VIT IN SUPPO R T O F C RIM INA L C O M PLA INT
           YourA ffiant,ConorS.Goepel,being duly sworn,deposesand statesasfollows:


                         INTR OD UC TIO N AN D A GENT BAC K G RO U ND

                  Iam a SpecialAgentforthe FederalBureau oflnvestigation (ikFBl'')currently
    assigned to the V iolentCrim es/Fugitive Task Force in the M iam iDivision. Ihave been an FBI

    SpecialAgentsince Septem ber2021and havebeen assigned to theM iam iD ivision since February

    2022. Iam an investigativeorlaw enforcem entofficerofthe United Statesw ithin the m eaning of

    Title 18,United States Code,Section 2510(7),in thatlam empowered by law to conduct
    investigations of,and to m ake arrests for,federaloffenses. A s a SpecialA gentforthe FBI,m y

    duties involve the investigation ofa variety ofviolationsoffederaloffenses,including,butnot

    lim ited to,bank robberies,HobbsActrobberies,extortion,and m urderforhire.

                  lam currently a m em ber ofthe South Florida V iolentCrim e Task Force. As part

    of m y professional duties and responsibilities, 1 have becom e fam iliar w ith the investigative

    m ethods and enforcem ent of Violent Crim es pertaining to state and federallaw s. Ihave also

    become versed in m ethodologiesand practicesemployed by individuals and groups who com m it

    ViolentCrim es.

                  The facts contained in this A ffidavit are based on m y personalknow ledge and

    inform ation provided to m e by other1aw enforcem entoftscers.ThisA ffidavitis being subm itted

    forthe Iim ited purposeofestablishing probablecauseforthe proposed com plaint,and assuch does

    notcontain cvery fact know n to m e. I respectfully subm itthat based upon the facts presented

    below ,thatthere is probable cause to believe that Diori BAN ARD com m itted the offenses of

    possession with intent to distribute more than fsfty (50) grams of a m ixture and substance
    containing a detectable amountof m etham phetam ine and a m ixture and substance containing a
Case 1:24-mj-03234-LMR Document 1 Entered on FLSD Docket 06/26/2024 Page 4 of 5




    detectableamountofcocaine,inViolationofTitle21,UnitedStatesCode,Section84l(a)(1)and
    possession ofafirearm in furtheranceofadrug trafficking crime,in violationofTitle l8,924(c).
                                        PRO BABLE C AU SE
           4.     On June 24,2024 a FederalSearch W arrant,sworn outofthe Southern Districtof

    Florida before the Honorable Judge Lisette Reid wasobtained for2427 N W 13lStC ircle,M iam i,

    Florida, hereinafter tEBARNARD'S residence'' (24-mj-03230-Reid). The Search Warrant
    authorized law enforcem entto search forfirearm s and other item s related to crim es ofviolence.

    The warrantw asexecuted atapproxim ately 7:00 PM . Law enforcem entrecovered m ailaddressed

    to BA RN A RD in the house,and inthem asterbedroom ,Iaw enforcem entrecovered a silverKAH R

    9-m m pistol,thatw as loaded w ith twelve rounds ofam m unition. A n additionalloaded m agazine

    w ith twelve rounds of 9-m m am m unition w as also recovered. Law Enforcem ent also recovered

    anAR stylerifle,twobrick-likeobjectscontainingawhite,powderysubstance,andmultiplebags
    containing white,powdery substance,and otherplastic bagscontaining arock-like substance.Law

    enforcem entalso recovered approxim ately 400 rounds of .22 caliberam m unition and thirty-five

    (35)9-mm roundsinabox inthebedroom closet.Inthekitchencabinetaboveamicrowave,law
    enforcementrecoveredaGlock 19pistolthatwasIoadedwithamagazinecontainingtwelve(12)
    roundsof9-m m am m unition. A duffelbag containing a iarge quantity ofcash thatw ascontained

    in vacuum -sealed bagswasrecovered in the garage.

                  The white, rock-like substance was field-tested, which resulted in a positive

    indication form etham phetam ine,w ith a w eightof69.3 gram s. The w hite-pow derIike substance

    in the plastic bags Geld-tested positive for the presence of cocaine,w ith a netw eightof l37.1

   grams.Thetwobrick-likeobjectsdidnottestpositiveforacontrolledsubstance.Baseduponmy
   trainingandexperience,youraffiantsubmitsthatthebrick-likeobjectscontainedacuttingagent,
Case 1:24-mj-03234-LMR Document 1 Entered on FLSD Docket 06/26/2024 Page 5 of 5




        tllatisustxlto tliltitc dru
                                     gs.Ssasellolll'
                                                 .     t
                                                       ly training al'Itlcxperi
                                                                                  ttlltre tl'
                                                                                            stl(ltsalytity t'l'rlkjrtrs  t
                                                                                                                         '
                                                                                                                         ,rics,'11)t1
       pvtsktncet. '
                   àï-parapllerlullia. stlcllascttttitygagent
                                                               .isct'
                                                                    yllsistttlltsaithklit. slribtllithpll.
                         l'
                          Izï1tNzkRlt lkas B.  -
                                               '
                                               &I l.Ni,-
                                                       '
                                                       $Rl)'s Rcsitlcltce li
       li                                                                      sttxlas his adzrtrstk (ïn l4t)$tlri-           scr-x
         ccqse.a3u!Ilt.islhe utilities sub
                                              scriberforI'-ARN    'pNltl)-s lesit
                                                                            .        -l
                                                                                     ' ctlue tllrlltlgh l- 'ltlr'lt.1tsl'flîscrt
       l'ight. /ttltlitionally
                               . achc ck of-B.,'
                                               $.RN./Nl?,l)-sctinlinalhistory rcv
                                                                                         ettled tllathe '    k'.asprevit
      convicttxlt'fcarrying aconccaled sv                                                                                    ltlsly
                                                 eaptlu in -20()0. a t k l
                                                                         ony    t
                                                                                br   vvhi ch   a tcn- n
      ycarin                                                                                             01-nllll.e tI  3ktl'
                                                                                                                            t(lnc
                                                                                                                            .
              Tpl
                isonn4cntnlay bc i
                                       nlrxlscd.

                                             ('
                                              *IINt.-LICSION
                      Basttlupon the f
                                        oregoiylg.IsulMniltllatth
                                                                    eft'
                                                                       tisprobablcktttustlS'  t'rtl
     ctMmpla .intchargingII/NRN                                                                   le tnrtptxlsetl
                                 CNRI)svitht'1' )possession svith intcîltto
     ofCocaint!. in'                                                        klistributenlorttllan 5(1f'
                     Violation 01-'l-
                                    ill                                                                .;gr t
                                                                                                            ln'
                                                                                                              ts
                                      kl21.lJnitcdStatesQN
                                                            odc.Section 84l(a)(1)
     at-trcarn:in furthcra                                                             and (2)pt'ssession k't-.
                          nccofatlrug traftscki
                                                 ngcrilne- 1n '
                                                              $,iolationof't' itl
                                                                                 o 18.9-244kr).

                                                                       lttxspeetfulb'Subnlitttd.
                                                                   .
                                                                                .w.. .
                                                                   f-'t.ly'
                                                                          tortitlepttl i
                                                                   l'
                                                                    Cekleraltstwcau
                                                                                  .v
                                                                                     pk
                                                                                     '
                                                                                    oi-r
                                                                                       1trlu Atltlt-
                                                                                                   tt
                                                                                         11NJstigatiott


       Attested to by the applicantin accordance w'ith therequirem entsofFed.R.Cri1n.P.4.1
       byFaceTim ethis 25th dayofJune2024.

                       '*)*'
                       .
                                           ..
                                                     .
                                                           4
                                          '
                   .
                   s


       H ON O RABLE LISETTE M .REID
       UNITED STATESM AGISTRATE JUDGE
